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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
LA UNION DEL PUEBLO ENTERO, et al.

vs. Case No.: 5:21-cv-844-XR
GREGORY W. ABBOTT, et al.

MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

Victor M. Garza

Comes now , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Defendant Hilda A. Salinas

Texas pro hac vice to represent in this case, and

would respectfully show the Court as follows:

1. Applicant is an attorney and a member of the law firm (or practices under the name of)

Hidalgo County District Attorney's Office with eMieesat:

Mailing address; 100 B. Cano St.

City, State, Zip Code: Edinburg, Texas 78539

Telephone: (956) 292-7609 Facsimile: (956) 318-2301

May 2, 2001

2. Since , Applicant has been and presently is a

member of and in good standing with the Bar of the State of Texas

Applicant's bar license number is 24029569

3; Applicant has been admitted to practice before the following courts:

Court: Admission date:

Southern District of Texas August 1, 2013

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Applicant is presently a member in good standing of the bars of the courts listed above,
except as provided below (list any court named in the preceding paragraph before which

Applicant is no longer admitted to practice):

N/A

I have x< have not previously applied to Appear Pro Hac Vice in this district

court in Case[s]:

Number: on the day of ,
Number: on the day of ‘
Number: on the day of ;

Applicant has never been subject to grievance proceedings or involuntary removal
proceedings while a member of the bar of any state or federal court, except as

provided:
N/A

Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

except as provided below (omit minor traffic offenses):

N/A

Applicant has read and is familiar with the Local Rules of the Western District of Texas

and will comply with the standards of practice set out therein.
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9. Applicant will file an Application for Admission to Practice before the United States
District Court for the Western District of Texas, if so requested; or Applicant has
co-counsel in this case who is admitted to practice before the United States District
Court for the Western District of Texas.

Co-counsel: Josephine Ramirez-Solis

Mailing address: 100 E Cano St.

City, State, Zip Code: Edinburg, TX 78539
(956) 292-7609

Telephone:

Should the Court grant applicant's motion, Applicant shall tender the amount of $100.00 pro hac
vice fee in compliance with Local Court Rule AT-I(f)(2) [checks made payable to: Clerk, U.S. District
Court].

Wherefore, Applicant prays that this Court enter an order permitting the admission of

Victor M. Garza to the Western District of Texas pro hac vice for this case only.

Respectfully submitted,

Victor M. Garza

printed name of Applicant]
WL fe LL —

[signature e of Applicant]

CERTIFICATE OF SERVICE

I hereby certify that I have served a true and correct copy of this motion upon each attorney of

25 day of August 2023 —

record and the original upon the Clerk of Court on this the

Victor M. Garza
[printéd V. of Applicant]

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[signatute of Apgl {Ijant]

